  Case 2:18-cv-09573-JFW-JPR Document 244 Filed 06/16/22 Page 1 of 1 Page ID #:6023




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.       CV 18-9573-JFW(JPRx)                                          Date: June 16, 2022

Title:         Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
              HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

               Shannon Reilly                              None Present
               Courtroom Deputy                            Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                               None

PROCEEDINGS (IN CHAMBERS):               ORDER DENYING RECEIVER’S MOTION TO
                                         APPROVE SETTLEMENT WITH C.D.L. DEVELOPING
                                         LTD [filed 5/18/22; Docket No. 243]

       On May 18, 2022, Receiver Thomas W. McNamara (the “Receiver”) filed a Motion to
Approve Settlement with C.D.L. Developing Ltd. (“Motion”). Pursuant to Rule 78 of the Federal
Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for
decision without oral argument. The hearing calendared for June 27, 2022 is hereby vacated and
the matter taken off calendar. After considering the moving papers, and the arguments therein, the
Court rules as follows:

      In his Motion, the Receiver seeks to have the Court approve his proposed settlement with
non-party C.D.L. Developing Ltd. (“CDL”).1 Although the Receiver’s counsel has discussed the
purported terms of the proposed settlement between the Receiver and CDL in the Motion, the
Court has not been provided with a copy of any settlement agreement or even a declaration from
the Receiver stating and explaining the terms of the proposed settlement. As a result, the Court
cannot determine if the proposed settlement should be approved.

         Accordingly, the Receiver’s Motion is DENIED without prejudice.

         IT IS SO ORDERED.




         1
         CDL is a Cypriot company and the Receiver commenced litigation against CDL in Cyprus
in June 2020.

                                           Page 1 of 1                        Initials of Deputy Clerk sr
